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                                  IN THE UNITED STATES DISTRICT COURT
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                                 FOR THE SOUTHERN DISTRICT OF GEORG1AERP0 DISI. OF GA.
                                           BRUNSWICK DIVISION




              UNITED STATES OF AMERICA                    )
                                                          )
                                                          )          CASE NO.: CR295-06
                           V.                             )
                                                          )
              RALPH JAMES MERCADO                         )




                          MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

                    Ralph Mercado ("Mercado"), who is currently incarcerated at the United States

              Penitentiary, Florence in Florence, Colorado, filed a pleading entitled "Motion for Relief

              From Judgment Based on Fraud on the Court Pursuit (sic) to Zakrzweski v.

              McDonough, 490 F.3d 1264 (llth Cir. 2007)". The Government filed a Response, and

              Mercado filed a Reply. For the reasons which follow, Mercado's Motion should be

              DISMISSED.

                                               STATEMENT OF THE CASE

                    Mercado pleaded guilty to one count of bank robbery, in violation of 18 U.S.C. §

              2113(d), and to one count of using a firearm during the commission of a crime of

              violence, in violation of 18 U.S.C. § 924(c). The Honorable Anthony A. Alaimo

              sentenced Mercado to 300 months' imprisonment on the bank robbery count and 60



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              months' imprisonment on the firearms count, to be served consecutively, on June 23,

              1995. Mercado filed an appeal, and the Eleventh Circuit Court of Appeals affirmed

              Mercado's sentence in 1997. United States v. Mercado, 112 F.3d 1172 (llth Cir. 1997)

              (Table). Judge Alaimo adopted the Eleventh Circuit's judgment as the judgment of this

              Court on May 15, 1997. (Doc. No. 101). On April 6, 1998, Mercado filed a motion for

              extension of time to file a motion pursuant to 28 U.S.C. § 2255. The undersigned

              denied Mercado's motion by Order dated April 8, 1998, and directed Mercado to file his

              section 2255 motion within the applicable time limits. (Doc. No. 104). Mercado did not

              file a motion to vacate, set aside, or correct his sentence pursuant to § 2255.

                     Mercado filed a Motion pursuant to Rule 60(b). In that Motion, Mercado

              contended that the probation officer who prepared his Pre-Sentence Investigation

              Report ("PSI") committed a fraud on the Court by providing misleading information in the

              PSI, particularly the prior convictions used to calculate Mercado's criminal history

              points. The undersigned recommended that Mercado's Motion be dismissed, and

              Judge Alaimo adopted this recommendation as the opinion of the Court. (Doc. Nos,

              199, 201), The Eleventh Circuit dismissed Mercado's appeal for want of prosecution

              due to Mercado's failure to pay the applicable filing fee.

                     In this Motion, Mercado sets forth the same assertion that he did in his

              previously-filed Rule 60(b) Motion—that the probation officer who prepared his PSI

              committed a fraud upon this Court by providing misleading information in his PSI.

                                      DISCUSSION AND CITATION TO AUTHORITY

                     Mercado relies on Zakrzewski v. McDonough, 490 F.3d 1264 (1 lth Cir. 2007), in

              support of his assertions. However, Mercado's reliance on Zakrzewski is misplaced, as



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              this Court has informed him on a previous occasion. In Zakrzewski, the Eleventh Circuit

              determined that a petition for writ of habeas corpus, filed pursuant to 28 U.S.C. § 2254,

              asserting a request for relief from a judgment obtained based on a fraud committed on

              the court was not a second or successive habeas corpus petition. Zakrzewski, 490

              F.3d at 1267. In reaching this holding, the Eleventh Circuit noted that the petition did

              not assert or reassert allegations of error which occurred during his state convictions,

              and the district court erred in concluding that the petitioner's Rule 60(b) motion was a

              successive habeas corpus petition. j. Mercado has not filed a previous section 2255

              motion. The holding in Zakrzewski is applicable in the context of second or successive

              habeas corpus petitions, not untimely § 2255 motions. (Doc. No. 199).

                     To the extent this Court considers Mercado's motion as being brought pursuant

              to Rule 60(b), he is not entitled to his requested relief. The Federal Rules of Civil

              Procedure "govern the procedure in the United States district courts in all suits of a civil

              nature." FED. R. Civ. P. 1. Rule 60(b)(3) provides that a court may relieve a party from

              a final judgment based on fraud, misrepresentation, or other misconduct of an adverse

              party. However, the Eleventh Circuit repeatedly has "held that Rule 60(b) does not

              provide for relief from a judgment in a criminal case." United States v. Whisb y , 323 F.

              App'x 781, 782 (llth Cir. 2009) (quoting cases). Even if Mercado could seek relief

              pursuant to Rule 60(b), his present Motion is untimely filed. FED. R. Civ. P. 60(c)(1).

              Accordingly, Mercado 18 not entitled to relief pursuant to Rule 60(b).




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                                                CONCLUSION

                    Based on the foregoing, it is my RECOMMENDATION that Mercado's Motion

              (Doc. No. 210) be DISMISSED.

                    SO REPORTED and RECOMMENDED, this ID day of May, 2011.




                                                   [TED STATES MAGISTRATE JUDGE




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